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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
FEDERAL TRADE COMMISSION,
Plaintiff,
Vv.
Case No. 8:09-ev-547-T-23 TBM
HOME ASSURE, LLC, et al.
Defendants.

 

 

(PROPOSED) STIPULATED JUDGMENT AND ORDER FOR
PERMANENT INJUNCTION AND MONETARY RELIEF AGAINST
DEFENDANT HOME ASSURE, LLC

 

Plaintiff, the Federal Trade Commission (“FTC” or “Commission”), commenced
this action on March 24, 2009 by filing its Complaint for injunctive and other equitable
relief pursuant to Section 13(b) of the Federal Trade Commission Act (“FTC Act”), 15
U.S.C. § 53(b), for violations of Section 5(a) of the FTC Act. The Clerk of the Court
entered a default against Defendant Home Assure on May 20, 2009. On July 27, 2010
Home Assure, LLC (“Home Assure”) appeared in this matter, and the default was lifted
on , 2010. Plaintiff FTC and Defendant Home Assure have agreed to the
entry by this Court of this Stipulated Final Judgment and Order for Permanent Injunction
(“Order”) to resolve all matters of dispute between them in this action.

NOW, THEREFORE, Plaintiff FTC and Defendant Home Assure having

requested the Court to enter this Order,
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IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
FINDINGS

This action by the Commission is instituted under Section 13(b) of the FTC Acct,

15 U.S.C. § 53(b). Pursuant to this statute, the Commission has the authority to

seek the relief contained herein.

This Court has jurisdiction over the subject matter and the parties.

Venue in the United States District Court for the Middle District of Florida is

proper as to all parties.

The Complaint states a claim against Home Assure upon which relief may be

granted under Sections 5(a) and 13(b) of the FTC Act, 15 U.S.C. §§ 45(a) and

53(b).

The activities of Defendant Home Assure are or were in or affecting commerce,

as defined by Section 4 of the FTC Act, 15 U.S.C. § 44.

Defendant Home Assure has waived any and all rights that may arise under the

Equal Access to Justice Act, 28 U.S.C, § 2412, concerning the prosecution of this

action through the date of entry of this Order.

This Order is in addition to, and not in lieu of, any other civil or criminal

remedies that may be provided by law.

This Order is remediai in nature and shall not be construed as the payment of a

fine, penalty, punitive assessment, or forfeiture.
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Plaintiff and Defendant Home Assure waive all rights to seek appellate review or
otherwise challenge or contest the validity of this Order. Defendant Home Assure
further waives and releases any claim it may have against the Commission, its
employees, agents, and representatives.
Entry of this Order is in the public interest.
This Order is for settlement purposes only, and does not constitute and shall not
be interpreted to constitute an admission by Defendant Home Assure or a finding
that the law has been violated as alleged in the Complaint, or that the facts alleged
in the Complaint, other than jurisdictional facts, are true.

DEFINITIONS
“Asset” or “assets” means any legal or equitable interest in, right to, or claim to,

any real and personal property, including, but not limited to, “goods,”

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“instruments,” “equipment,” “fixtures,” “general intangibles,” “inventory,”
“checks,” and “notes” (as these terms are defined in the Uniform Commercial
Code), and all chattel, leaseholds, contracts, mail or other deliveries, shares of
stock, lists of consumer names, accounts, credits, receivables, funds, reserve
funds, and cash, wherever located.

“Assisting others” includes, but is not limited to (A) performing customer
service functions, including, but not limited to, receiving or responding to

consumer complaints; (B) formulating or providing, or arranging for the

formulation or provision of, any telephone sales script or other marketing
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material, including, but not limited to, the text of any Internet website, email or
other electronic communication; (C) providing names of, or assisting in the
generation of lists of, potential customers; (D) performing marketing services of
any kind; (E) processing credit and debit card payments; (F) hiring, recruiting, or
training personnel; (G) advising or acting as a consultant to others on the
commencement or management of a business venture; or (H) acting or serving as
an owner, officer, director, manager, or principal of any entity.

3. “Credit” means the right granted by a creditor to a debtor to defer payment of
debt or to incur debt and defer its payment.

4. “Debt relief good or service” means any good, service, plan, or program,
including debt management pians, debt settlement, debt negotiation, and for-
profit credit counseling, represented, expressly or by implication, to renegotiate,
settle, or in any way alter the terms of payment or other terms of the debt between
a consumer and one or more unsecured creditors, servicers, or debt collectors,
including but not limited to, a reduction in the balance, interest rate, or fees owed
by a consumer to an unsecured creditor, servicer, or debt collector.

5. “Document” is synonymous in meaning and equal in scope to the usage of the
term in Federal Rule of Civil Procedure 34(a), and includes both documents and
electronically stored information, including, but not limited to, writings,
drawings, graphs, charts, photographs, audio and video recordings, computer

records, and other data compilations from which information can be obtained and
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translated, if necessary, through detection devices into reasonably usable form. A
draft or non-identical copy is a separate document within the meaning of the term

“document.”
6. “Federal homeowner relief or financial stability program” means any program

(including its sponsoring agencies, telephone numbers, and Internet websites)
operated or endorsed by the United States government to provide relief to
homeowners or stabilize the economy, including but not limited to (A) the
Making Home Affordable Program; (B) the Financial Stability Plan; (C) the
Troubled Asset Relief Program and any other program sponsored or operated by
the United States Department of the Treasury; (D) the HOPE for Homeowners
program, any program operated or created pursuant to the Helping Families Save
Their Homes Act, and any other program sponsored or operated by the Federal
Housing Administration; or (E) any program sponsored or operated by the United
States Department of Housing and Urban Development (“HUD”), the HOPE
NOW Alliance, the Homeownership Preservation Foundation, or any other HUD-
approved housing counseling agency.

7. “Financial Related Good or Service” means any good, service, plan, or program
that is represented, expressly or by implication, to (A) provide any consumer,
arrange for any consumer to receive, or assist any consumer in receiving, credit,
debit, or stored value cards; (B) improve, or arrange to improve, any consumer’s

credit record, credit history, or credit rating; (C) provide advice or assistance to

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any consumer with regard to any activity or service the purpose of which is to
improve a consumer’s credit record, credit history, or credit rating; (D) provide
any consumer, arrange for any consumer to receive, or assist any consumer in
receiving, a loan or other extension of credit; (E) provide any consumer, arrange
for any consumer to receive, or assist any consumer in receiving, debt relief
goods or services; or (F} provide any consumer, arrange for any consumer to
receive, or assist any consumer in receiving any service represented, expressly or
by implication, to renegotiate, settle, or in any way alter the terms of payment or
other terms of the debt between a consumer and one or more secured creditors,
servicers, or debt collectors.

8. “For-profit” means any activity organized to carry on business for the profit of
the entity engaging in the activity or that of its members.

9. “Mortgage loan modification or foreclosure relief service” means any good,
service, plan, or program that ts represented, expressly or by implication, to assist
a consumer in any manner to (A) stop, prevent, or postpone any home mortgage
or deed of trust foreclosure sale; (B)} obtain or arrange a modification of any term
of a home loan, deed of trusi, or mortgage; (C) obtain any forbearance from any
mortgage loan holder or servicer; (D) exercise any right of reinstatement of any
mortgage loan; (E) obtain, arrange, or attempt to obtain or arrange any extension
of the period within which the owner of property sold at foreclosure may cure his

or her default or reinstate his or her obligation; (F) obtain any waiver of an
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acceleration clause contained in any promissory note or contract secured by a
deed of trust or mortgage on a residence in foreclosure or contained in that deed
of trust; (G) obtain a loan or advance of funds that is connected to the consumer's
home ownership; (H) avoid or ameliorate the impairment of the consumer’s credit
record, credit history, or credit rating that is connected to the consumer's home
ownership; (I) save the consumer’s residence from foreclosure; (J) assist the
consumer in obtaining proceeds from the foreclosure sale of the consumer’s
residence; (K) obtain or arrange a pre-foreclosure sale, short sale, or deed-in-lieu
of foreclosure; (L) obtain or arrange a refinancing, recapitalization, or
reinstatement of a home loan, deed of trust, or mortgage; (M) audit or examine a
consumer’s mortgage or home loan application; or (N) obtain, arrange, or attempt
to obtain or arrange any extension of the period within which the renter of
property sold at foreclosure may continue to occupy the property. The foregoing
shall include any manner of claimed assistance, including, but not limited to,
debt, credit, budget, or financial counseling: receiving money for the purpose of
distributing it to creditors; contacting creditors or servicers on behalf of the
consumer; and giving advice of any kind with respect to filing for bankruptcy.
“Material” means any fact that is likely to affect a person’s choice of, or conduct

regarding, any good, service, plan, or program.
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11. “Person” means a natural person, an organization, or other legal entity, including
a corporation, partnership, sole proprietorship, limited liability company,
association, cooperative, or any other group or combination acting as an entity.

12. The terms “and” and “or” shall be construed conjunctively or disjunctively as
necessary, and to make the applicable phrase or sentence inclusive rather than
exclusive.

ORDER

I. BAN ON LOAN MODIFICATION AND FORECLOSURE RELIEF
SERVICES

IT IS HEREBY ORDERED that Defendant Home Assure and its successors and
assigns, whether acting directly or through any other person, corporation, partnership,
subsidiary, division, or other device, is permanently restrained and enjoined from

A, Advertising, marketing, promoting, offering for sale, or selling any
mortgage loan modification or foreclosure relief service; and

B. Assisting others engaged in advertising, marketing, promoting, offering
for sale, or selling any mortgage loan modification or foreclosure relief service.

Ik. PROHIBITED REPRESENTATIONS RELATING TO FINANCIAL
RELATED GOODS AND SERVICES

IT IS FURTHER ORDERED that Defendant Home Assure, and its successors
and assigns, and their officers, agents, servants, employees, and attorneys, and those
persons or entities in active concert or participation with any of them who receive actual

notice of this Order by personal service, facsimile transmission, email, or otherwise,
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whether acting directly or through any corporation, subsidiary, division, or other device,
in connection with the advertising, marketing, promotion, offering for sale or sale of any
financial related good or service, are hereby permanently restrained and enjoined from:
A. Misrepresenting or assisting others in misrepresenting, expressly or by
implication, any material fact, including but not limited to:
1. The terms or rates that are available for any loan or other extension
of credit, including but not limited to:

(a) closing costs or other fees;

(b) the payment schedule, the monthly payment amount(s), or
other payment terms, or whether there is a balloon payment; interest rate(s), annual
percentage rate(s), or finance charge; the loan amount, the amount of credit, the draw
amount, or outstanding balance; the loan term, the draw period, or maturity; or any other
term of credit;

(c) the savings associated with the credit;

(d) the amount of cash to be disbursed to the borrower out of
the proceeds, or the amount of cash to be disbursed on behalf of the borrower to any third
parties;

(e) whether the payment of the minimum amount specified
each month covers both interest and principal, and whether the credit has or can result in

negative amortization;
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(iH that the credit does not have a prepayment penalty or that
no prepayment penalty and/or other fees or costs will be incurred if the consumer
subsequently refinances; and

(g} that the interest rate(s) or annual percentage rate(s) are
fixed rather than adjustable or adjustable rather than fixed;

2. That any person can improve any consumer’s credit record, credit
history, or credit rating by permanently removing negative information from the
consumer's credit record, credit history, or credit rating, even where such information is
accurate and not obsolete;

3. Any person’s ability to improve or otherwise affect a consumer's
credit record, credit history, or credit rating or ability to obtain credit;

4, Any aspect of any debt relief good or service, including but not
limited to, the amount of savings a consumer will receive from purchasing, using, or
enrolling in such debt relief good or service; the amount of time before which a consumer
will receive settlement of the consumer’s debts; or the reduction or cessation of
collection calls; and

5. That a consumer will receive legal representation; and

B. Advertising or assisting others in advertising credit terms other than those

terms that actually are or will be arranged or offered by a creditor or lender.

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Hl. PROHIBITED REPRESENTATIONS RELATING TO ANY GOODS OR
SERVICES

IT IS FURTHER ORDERED that Defendant Home Assure, and its successors
and assigns, and their officers, agents, servants, employees, and attorneys, and those
persons or entities in active concert or participation with any of them who receive actual
notice of this Order by personal service, facsimile transmission, email, or otherwise,
whether acting directly or through any corporation, subsidiary, division, or other device,
in connection with the advertising, marketing, promotion, offering for sale or sale of any
good, service, plan, or program are hereby permanently restrained and enjoined from
misrepresenting or assisting others in misrepresenting, expressly or by implication, any
material fact, including but not limited to:

A. Any material aspect of the nature or terms of any refund, cancellation,
exchange, or repurchase policy, including, but not limited to, the likelihood of a
consumer obtaining a full or partial refund, or the circumstances in which a full or partial
refund will be granted to the consumer;

B. That any person ts affiliated with, endorsed or approved by, or otherwise
connected to any other person, government entity, any federal homeowner relief or

financial stability program, or any other program;

C. The total costs to purchase, receive, or use, and the quantity of, the good
or service;
D. Any material restriction, limitation, or condition to purchase, receive, or

use the good or service; and

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E. Any material aspect of the performance, efficacy, nature, or characteristics
of the good or service.

IV. MONETARY JUDGMENT

IT IS FURTHER ORDERED that:

A. Judgment is hereby entered against Defendant Home Assure in the amount
of $2,400,000 (Two Million Four Hundred Thousand Dollars) as equitable monetary
relief. Within ten (10) days of the Commission’s approval of this Order, Defendant
Home Assure shall transfer the Monetary Judgment to its attorney, who shall hold the
entire sum for no other purpose than payment to the Federal Trade Commission after
entry of this Order. Within five (5) days receipt of notice of the entry of this Order,
Defendant Home Assure’s attorney shall wire transfer the Monetary Judgment to the
Federal Trade Commission, in accordance with instructions provided by a representative
of the Commission.

B. In the event of Defendant Home Assure’s default on any obligation to
make payment under this Order, interest, computed pursuant to 28 U.S.C. § 1961(a),
shall accrue from the date of default to the date of payment, and shall immediately
become due and payable. In the event such default continues for ten (10) calendar days
beyond the date the payment is due, the entire amount of the judgment, less any amounts
previously paid pursuant to this order, together with interest, shall immediately become

due and payable.
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C. All funds paid pursuant to this Order shall be deposited into a fund
administered by the Commission or its agents to be used for equitable relief, including,
but not limited to, redress to consumers, and any attendant expenses for the
administration of such equitable relief. In the event that direct redress to consumers is
wholly or partially impracticable or funds remain after the redress is completed, the
Commission may apply any remaining funds for such other equitable relief (including
consumer information remedies) as it determines to be reasonably related to Defendant
Home Assure’s practices alleged in the Complaint. Any funds not used for such
equitable relief shall be deposited to the United States Treasury as disgorgement.
Defendant Home Assure shall have no right to challenge the Commission’s choice of
remedies under this Paragraph. Defendant Home Assure shall have no right to contest
the manner of distribution chosen by the Commission.

D. No portion of any payment under the Judgment herein shall be deemed a
payment of any fine, penalty, or punitive assessment.

E. Defendant Home Assure relinquishes all dominion, control, and title to the
funds paid to the fullest extent permitted by law. Defendant shall make no claim to or
demand for return of the funds, directly or indirectly, through counsel or otherwise.

F. Defendant Home Assure agrees that the facts as alleged in the Complaint
filed in this action shall be taken as true without further proof in any bankruptcy case or
subsequent civil litigation pursued by the Commission to enforce its rights to any

payment or money judgment pursuant to this Order, including, but not limited to, a

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nondischargeability complaint in any bankruptcy case. Defendant further stipulates and
agrees that the facts alleged in the Complaint establish all elements necessary to sustain
an action by the Commission pursuant to Section 523(a)(2)(A) of the Bankruptcy Code,
11 U.S.C. § 523(a)(2)(A), and this Order shall have collateral estoppel effect for such
purposes.

G. In accordance with 31 U.S.C. § 7701, Defendant Home Assure is hereby
required, unless it has already, to furnish to the Commission its taxpayer identifying
number(s), which shall be used for the purposes of collecting and reporting on any
delinquent amount arising out of Defendant’s relationship with the government.

V. LIFTING OF THE ASSET FREEZE

IT IS FURTHER ORDERED that the asset freeze set forth in the Preliminary
Injunction, entered by this Court on April 16, 2009 shall be lifted to the extent necessary
to turn over Defendant Home Assure’s assets as required by Section IV.A of this Order,
and upon completion of the turn-over as required by Section [V.A of this Order, shall be
dissolved and lifted permanently.

VI. ORDER PROVISION REGARDING CUSTOMER INFORMATION

IT IS FURTHER ORDERED that Defendant Home Assure, and its successors
and assigns, and their officers, agents, servants, employees, and attorneys, and all other
persons in active concert or participation with any of them who receive actual notice of
this Order by personal service or otherwise, are permanently restrained and enjoined

from:

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A. Disclosing, using, or benefitting from customer information, including the
name, address, telephone number, email address, social security number, other
identifying information, or any data that enables access to a customer’s account
(including a credit card, bank account, or other financial account), of any person which
any Defendant obtained prior to entry of this Order in connection with Defendant Home
Assure’s mortgage loan modification or foreclosure relief service; and

B. Failing to dispose of such customer information in all forms in their
possession, custody, or control within thirty (30) days after entry of this Order. Disposal
shall be by means that protect against unauthorized access to the customer information,
such as by burning, pulverizing, or shredding any papers, and by erasing or destroying
any electronic media, to ensure that the customer information cannot practicably be read
or reconstructed.

Provided, however, that customer information need not be disposed of, and may
be disclosed, to the extent requested by a government agency or required by a law,
regulation, AVC, or court order.

VIL COMPLIANCE MONITORING

IT IS FURTHER ORDERED that, for the purpose of monitoring and
investigating compliance with any provision of this Order:

A. Within ten (10) days of receipt of written notice from a representative of
the Commission, Defendant Home Assure, and its successors and assigns, shall submit

additional written reports, which are true and accurate and sworn to under penalty of

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perjury; produce documents for inspection and copying; appear for deposition; and
provide entry during normal business hours to any business location in Defendant Home
Assure’s possession or direct or indirect control to inspect the business operation;
B. In addition, the Commission is authorized to use all other lawful means,
including but not limited to:
1, obtaining discovery from any person, without further leave of
court, using the procedures prescribed by Fed. R. Civ. P. 30, 31,

33, 34, 36, 45 and 69;

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having its representatives pose as consumers and suppliers to
Defendant Home Assure, and its successors and assigns, its
employees, or any other entity managed or controlled in whole or
in part by Defendant Home Assure, without the necessity of
identification or prior notice; and

C. Defendant Home Assure, and its successors and assigns, shall permit
representatives of the Commission to interview any employer, consultant, independent
contractor, representative, agent, or employee who has agreed to such an interview,
relating in any way to any conduct subject to this Order. The person interviewed may
have counsel present.
Provided however, that nothing in this Order shall limit the Commission’s lawful use of
compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-

1, to obtain any documentary material, tangible things, testimony, or information relevant

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to unfair or deceptive acts or practices in or affecting commerce (within the meaning of
15 U.S.C. § 45a).
VII. COMPLIANCE REPORTING

IT IS FURTHER ORDERED that, in order that compliance with the provisions
of this Order may be monitored:

A, For a period of three (3) years from the date of entry of this Order,
Defendant Home Assure, and its successors and assigns, shall notify the Commission of
any changes in structure of Defendant Home Assure or any business entity that
Defendant Home Assure directly or indirectly controls, or has an ownership interest in,
that may affect compliance obligations arising under this Order, including but not limited
to: incorporation or other organization; a dissolution, assignment, sale, merger, or other
action; the creation or dissolution of a subsidiary, parent, or affiliate that engages in any
acts or practices subject to this Order; or a change in the business name or address, at
least thirty (30) days prior to such change, provided that, with respect to any such change
in the business entity about which Defendant Home Assure learn less than thirty (30)
days prior to the date such action is to take place, Defendant Home Assure, and its
successors and assigns, shall notify the Commission as soon as is practicable after
obtaining such knowledge.

B. One hundred eighty (180) days after the date of entry of this Order and
annually thereafter for a period of three (3) years, Defendant Home Assure, and its

successors and assigns, shall provide a written report to the FTC, which is true and

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accurate and sworn to under penalty of perjury, setting forth in detail the manner and
form in which it has complied and is complying with this Order. This report shall
include, but not be limited to:

C. A copy of each acknowledgment of receipt of this Order, obtained
pursuant to the Section titled “Distribution of Order;” and

D. Any other changes required to be reported under Subsection A of this
Section.

E. Defendant Home Assure, and its successors and assigns, shall notify the
Commission of the filing of a bankruptcy petition by Defendant Home Assure, and its
successors and assigns, within fifteen (15) days of filing.

F. For the purposes of this Order, Defendant Home Assure, and its
successors and assigns, shall, unless otherwise directed by the Commission’s authorized
representatives, send by overnight courier all reports and notifications required by this
Order to the Commission, to the following address:

Associate Director for Enforcement

Federal Trade Commission

600 Pennsylvania Avenue, N.W., Room NJ-2122

Washington, D.C. 20580

RE: FTC v. Home Assure, LLC, et al. 8:09-cv-547-T23 TBM (MLD. Fla.)
Provided that, in lieu of overnight courier, Defendant Home Assure, and its

successors and assigns, may send such reports or notifications by first-class mail, but

only if Defendant Home Assure, and its successors and assigns, contemporaneously

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sends an electronic version of such report or notification to the Commission at:

DEBrietfi@ftc.gov.
G. For purposes of the compliance reporting and monitoring required by this

Order, the Commission is authorized to communicate directly with the Defendant and its
successors and assigns.
IX. RECORD KEEPING PROVISIONS

IT IS FURTHER ORDERED that, for a period of six (6) years from the date of
entry of this Order, in connection with the advertising, marketing, promoting, offering for
sale, or sale of mortgage loan modification or foreclosure relief services, Defendant
Home Assure, and its successors and assigns, and their agents, employees, officers,
corporations, and those persons in active concert or participation with them who receive
actual notice of this Order by personal service or otherwise, are hereby restrained and
enjoined from failing to create and retain the following records:

A. Accounting records that reflect the cost of goods or services sold,
revenues generated, and the disbursement of such revenues;

B. Personnel records accurately reflecting: the name, address, and telephone
number of each person employed in any capacity by such business, including as an
independent contractor; that person’s job title or position; the date upon which the person
commenced work; and the date and reason for the person’s termination, if applicable;

C. Customer files containing the names, addresses, phone numbers, dollar

amounts paid, quantity of items or services purchased, and description of items or

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services purchased, to the extent such information is obtained in the ordinary course of
business;

D. Complaints and refund requests (whether received directly or indirectly,
such as through a third party) and any responses to those complaints or requests;

E. Copies of all sales scripts, training materials, advertisements, or other
marketing materials, including websites; and

F. All records and documents necessary to demonstrate full compliance with
each provision of this Order, including but not limited to, copies of acknowledgments of
receipt of this Order required by the Sections titled “Distribution of Order” and
“Acknowledgment of Receipt of Order” and all reports submitted to the FTC pursuant to
the Section titled “Compliance Reporting.”

X. DISTRIBUTION OF ORDER

IT IS FURTHER ORDERED that, for a period of three (3) years from the date
of entry of this Order, Defendant Home Assure, and its successors and assigns, shall
deliver copies of the Order as directed below:

A. Defendant Home Assure, and its successors and assigns, must deliver a
copy of this Order to (1) all of its principals, officers, directors, and managers; (2) all of
its employees, agents, and representatives who engage in conduct related to the subject
matter of the Order; and (3) any business entity resulting from any change in structure set
forth in Subsection A of the Section titled “Compliance Reporting.” For current

personnel, delivery shall be within five (5) days of service of this Order upon such
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Defendant. For new personnel, delivery shall occur prior to them assuming their
responsibilities. For any business entity resulting from any change in structure set forth
in Subsection A of the Section titled “Compliance Reporting,” delivery shall be at least
ten (10) days prior to the change in structure.

B. Defendant Home Assure, and its successors and assigns, must secure a
signed and dated statement acknowledging receipt of the Order, within thirty (30) days of
delivery, from all persons receiving a copy of the Order pursuant to this Section.

XI. ACKNOWLEDGMENT OF RECEIPT OF ORDER

IT IS FURTHER ORDERED that Defendant Home Assure, and its successors
and assigns, within five (5) business days of receipt of this Order as entered by the Court,
must submit to the Commission a truthful sworn statement acknowledging receipt of this
Order.

XII. COMPLETE SETTLEMENT

The parties hereby consent to entry of this Order, which shall constitute a final

judgment and order in this matter. The parties further stipulate and agree that the entry of

this Order shall constitute a full, complete, and final settlement of this action.
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AL. “RETENTION OF JURISDICTION
IT 1S FURTHER ORDERED that this Court shall retain jurisdiction of this

matter for purposes of construction, modification, and enforcement of this Order.

STIPULATED AND AGREED TO BY:
PLAINTIFF:

WILLARD K. TOM
General Counsel
LEONARD L. GORDON
Director, Northeast Region

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DATED: of [2 ow OS
MICHAEL GRIEQGAS AN

OFFICER OF DEFENDANT
HOME ASSURE, LLC

      

 
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THe DATED: 06/29/10
R

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Counsel for Defendant Home Assure, LLC

LDFARB

DONE AND ORDERED, , this day of 2010 at M.

 

STEVEN D. MERRYDAY
United States District Court Judge

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